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                          IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

  LEMAR THOMAS, JR.,                               §
  2535 Southern Avenue S.E. #24                    §
  Washington D.C. 20020                            §
  202-878-5937 / 202-221-0724                      §
                                                   §
           Plaintiff,                              §
                                                   §   CASE NO. 1:23-cv-02584
  v.                                               §
                                                   §
  AMERICA’S HEALTHCARE AT HOME,                    §
  INC.,                                            §
  220 W Germantown Pike, Suite 250,                §
  Plymouth Meeting, PA 19462                       §
                                                   §
           Defendant.

                                         NOTICE OF REMOVAL

          Defendant America’s Healthcare at Home, Inc., (“Defendant”) hereby provides notice

 pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 of the removal of the above-captioned case from

 the Superior Court of the District of Columbia, Civil Division, in which it is now pending at

 Case No. 2023 CAB 002501 (the “Underlying Action”), to the United States District Court for the

 District of Columbia, and states as follows:

   I.     INTRODUCTION

          1.       On April 28, 2023, Plaintiff Lamar Thomas Jr. (“Plaintiff”) filed a complaint in

 the Superior Court of the District of Columbia, Civil Division, Case No. 2023 CAB 002501 (the

 “Complaint”), attached as Exhibit A, Complaint.

          2.       Pursuant to 28 U.S.C. § 1446(a), the Complaint and all other process, pleadings,

 and/or orders that have been served on Defendant in this litigation as of the date of this filing

 are attached.


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           3.      By filing a Notice of Removal, Defendant does not waive its right to object to

 service of process, the sufficiency of process, jurisdiction over the parties, or venue, and

 Defendant specifically reserves its right to assert any defenses and objections to which it is

 entitled.

     II.   FACTUAL BACKGROUND

           4.      Plaintiff alleges that he was a customer of Defendant from 2018 to 2021 and

 that as a result of using a Continuous Positive Airway Pressure (“CPAP”) device (the

 “Device”) which became subject to a products recall in 2021, 1 he suffered “health problems,”

 including “mental stress,” and “physical pain.” Ex. A at 4.

           5.      Plaintiff demands $100,000 in damages. Ex. A at 18.

 III.      GROUNDS FOR REMOVAL

           6.      Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which

 the district courts of the United States have original jurisdiction, may be removed by the

 defendant . . . to the district court of the United States for the district and division embracing

 the place where such action is pending.”

           7.      This court has original subject-matter jurisdiction under 28 U.S.C. § 1332,

 diversity jurisdiction, because this is a civil action between citizens of different states and the

 amount in controversy exceeds $75,000.




 1
   Upon information and belief, the Device is a Philips CPAP device subject to a June 14, 2021,
 recall notification for many of its CPAP and BiPAP devices and a number of its ventilator devices.
 See https://www.usa.philips.com/healthcare/e/sleep/communications/src-update.

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                a. There is complete diversity among the parties.

          8.       Diversity jurisdiction “require[s] complete diversity of citizenship,” i.e., “the

 citizenship of each plaintiff” must be “diverse from the citizenship of each defendant.” Caterpillar

 Inc. v. Lewis, 519 U.S. 61, 68 (1996).

                       i. Plaintiff is a Citizen of the District of Columbia.

          9.       An individual is a citizen of the state in which he or she is domiciled. See Core

 VCT Plc v. Hensley, 59 F. Supp. 3d 123, 125 (D.D.C. 2014).

        10.        The District of Columbia is considered a “state” for diversity jurisdiction purposes.

 See 28 USC § 1332(e) (“The word ‘States’, as used in this section, includes the Territories, the

 District of Columbia, and the Commonwealth of Puerto Rico.”).

          11.      Residence alone is not the equivalent of citizenship, but the place of residence is

 evidence of domicile there. VCT Plc 59 F. Supp. 3d at 126 (“Indicia of domiciliary status may

 include a person's current residence[.]”).

          12.      Plaintiff states that he resides in Washington D.C. Ex. A at 4. There are no facts

 present in the Complaint that suggest Plaintiff is a citizen of any other state other than Washington

 D.C.

          13.      Therefore, because his residence is evidence of citizenship, Plaintiff is a citizen of

 Washington D.C.

                       ii. Defendant is a citizen of Pennsylvania and Delaware.

          14.      Defendant is a Delaware corporation with its principal place of business at 220 W

 Germantown Pike, Suite 250, Plymouth Meeting, PA 19462.

          15.      For diversity purposes, a corporation is a citizen of both the state where it is

 incorporated and the state where it has its principal place of business. 28 U.S.C. § 1332(c)(1).

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          16.      Accordingly, because Defendant is a citizen of both Pennsylvania and Delaware, it

 is diverse from Plaintiff.

                      iii. There is complete diversity between the parties.

          17.      Thus, based on the foregoing, there is complete diversity between the parties.

                b. The amount in controversy requirement is satisfied.

          18.      Plaintiff demands $100,000 in damages. Ex. A at 18.

          19.      Therefore, there is explicitly more than $75,000 in controversy. See 28 U.S.C. §

 1332(a).

 IV.      VENUE

          20.      This lawsuit may be removed to the United States District Court for the District of

 Columbia, pursuant to 28 U.S.C. §§ 1332(a)(1) and 1441(a).

          21.      The United States District Court for the District of Columbia is the federal judicial

 district encompassing the Superior Court of the District of Columbia, Civil Division, where this

 suit was originally filed. 28 U.S.C § 88.

          22.      On October 8, 2021, the United States Judicial Panel on Multidistrict Litigation

 issued a Transfer Order, consolidating related class action cases and individual personal injury

 cases like this matter into a multidistrict litigation (MDL 3014) and ordering their transfer to

 the Western District of Pennsylvania, before the Honorable Joy Flowers Conti (the “MDL”) for

 coordinated or consolidated pretrial proceedings. Exhibit B, Transfer Order.

          23.      Upon information and belief this case is related to the MDL and thus, it should

 be transferred to the MDL following removal.

  V.      NOTICE OF REMOVAL IS TIMELY

        24.        Pursuant to 28 U.S.C. § 1446(b)(2)(B), “each defendant shall have 30 days after

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 receipt by or service on that defendant of the initial pleading or summons” to file its notice of

 removal.

        25.        Upon information and belief, Defendant was served on August 8, 2023.

        26.        Therefore, Defendant has filed its notice of removal within 30 days of service

 consistent with 28 U.S.C. § 1446(b)(2)(B).

        27.        Additionally, this notice is timely because it is filed within one year after

 commencement of the action pursuant to pursuant to 28 U.S.C. § 1446(c)(1).

 VI.      CONSENT

          28.      Each properly joined and served defendant consents to the removal of this action

 pursuant to 28 U.S.C. § 1446(b)(2).

VII.      PROCEDURE

          29.      Written notice of the filing of the Notice of Removal will be promptly served on

 all other parties to this action and a copy will promptly be filed with the Superior Court of the

 District of Columbia, Civil Division, as required by 28 U.S.C. § 1446(d).

          30.      Included with this Notice of Removal is the filing fee required by 28 U.S.C. § 1914.

VIII.     CONCLUSION

          Defendant respectfully removes this action from the Superior Court of the District of

 Columbia, Civil Division, to the United States District Court for the District of Columbia.




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                                          Respectfully submitted,


                                           /s/ Joseph V. Schaeffer
                                          Joseph V. Schaeffer (DC Bar # 1520900)
 Dated: September 6, 2023                 Babst, Calland, Clements and Zomnir, P.C.
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                                          Home, Inc




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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on September 6, 2023, a true and exact copy of the

 foregoing document was served through the court’s CM/ECF system, via first class mail, and via

 email as follows:

  Lemar Thomas Jr.
  2535 Southern Avenue S.E. #24
  Washington D.C. 20020
  202-878-5837
  Lemar3985@gmail.com

  Plaintiff, Pro Se




                                                       /s/Joseph V. Schaeffer
                                                      Joseph V. Schaeffer (DC Bar # 1520900)




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